         Case 2:21-mc-01230-JFC Document 2534 Filed 02/26/24 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                            )
IN RE: PHILIPS RECALLED                     )
CPAP, BI-LEVEL PAP, AND                     )
MECHANICAL
VENTILATOR PRODUCTS                         )   Master Misc. No. 21-1230
LITIGATION                                  )
                                            )
                                            )   MDL No. 3014
This Document Relates to: All Actions       )
                                            )
                                            )
                                            )


 SPECIAL MASTER ORDER RE: BRIEFING SCHEDULE ON MOTION
 TO DISMISS THE SECOND AMENDED CLASS ACTION COMPLAINT
                 FOR MEDICAL MONITORING


        THE BACKGROUND OF THIS ORDER IS AS FOLLOWS:

        By Memorandum Opinion (ECF No. 2521) and accompanying Order (ECF

No. 2522), issued on February 14, 2024, the Hon. Joy Flowers Conti declined to

adopt the Special Master’s Report and Recommendation (ECF No. 2273)

addressing Respironics’ Motion to Dismiss the Second Amended Class Action

Complaint for Medical Monitoring (“Med Mon Complaint”), and instead

remanded the matter to the undersigned Special Master to “issue a revised report

and recommendation consistent with the guidance set forth in the accompanying

memorandum opinion.” Judge Conti observed:

            The Special Master addressed the disputes presented to him by the
            parties. The parties, however, did not provide the Special Master a
            clear state by state roadmap of which element or elements of the
                                            1

02/16/2024 SL1 1951984v3 114548.00014
         Case 2:21-mc-01230-JFC Document 2534 Filed 02/26/24 Page 2 of 4




            claims asserted are or are not at issue for the purpose of resolving
            the motion to dismiss. States have taken different approaches to
            medical monitoring. At the motion to dismiss stage, a thorough
            survey of the pertinent elements of each claim asserted in the Med
            Mon Master complaint and each state’s law must be conducted to
            determine whether a stand-alone claim is plausibly stated for
            medical monitoring or if any other claim is plausibly stated for
            which medical monitoring may be obtained as a form of relief. The
            time invested now in precisely identifying the applicable claims and
            law in each state will pay dividends in guiding discovery and
            narrowing the disputes.

(ECF No. 2521 at 5.)

        Judge Conti directed that “[t]he primary task upon remand is to conduct a

survey of the relevant laws of each state with respect to each claim asserted in the

Med Mon Master complaint. The Special Master should provide a roadmap for a

ruling on the motion to dismiss which identifies, for each count and each state, the

claims that will survive.” (ECF No. 2521 at 18.) Judge Conti further explained:

            it will be important for the court and parties to know exactly which
            of the 15 counts (and claims stated in them) in the Med Mon Master
            complaint remain in the case, and which claims apply to which
            states. The Special Master should clarify for each relevant state: (a)
            whether medical monitoring is a stand-alone claim (and whether or
            not a manifest physical injury is required); and (b) whether any
            other claim provides a basis for medical monitoring relief.

(ECF No. 2521 at 20.)

        Pursuant to the Special Master Order entered on February 16, 2024 (ECF

No. 2523), a conference call was conducted with the parties on February 26, 2024,

“to establish a schedule for the submission of briefs on the matters remanded” by

                                             2

02/16/2024 SL1 1951984v3 114548.00014
         Case 2:21-mc-01230-JFC Document 2534 Filed 02/26/24 Page 3 of 4




the Court’s February 14, 2024 Order. Respironics’ counsel suggested that the

parties submit competing Reports and Recommendations, akin to proposed

findings of fact and conclusions of law. Plaintiffs proposed traditional briefing on

the matters that are at issue. Both sides agreed that there should not be page limits

on the supplemental submissions and that each side should be given forty-five days

to make their initial submissions, with Respironics proceeding first.

        Because submission of competing Reports and Recommendations would

not be conducive to resolution of such issues as “whether injury or harm is a

necessary element of [a product liability] claim, and, if so, whether economic

harm is enough, and, if not, whether subcellular change would be sufficient to

plead a physical injury,” (ECF No. 2521 at 19), the suggestion to have the

parties submit competing draft Reports and Recommendations was deemed

not practicable. The parties’ joint request to not limit the length of the

supplemental briefing, however, was adopted, with the understanding that the

parties will limit their arguments to the matters identified in the Court’s

February 14 Memorandum Opinion. In addition, while acknowledging that

forty-five days for supplemental briefing is a considerable period of time,

deference was accorded to the parties’ suggested briefing schedule, given




                                          3

02/16/2024 SL1 1951984v3 114548.00014
         Case 2:21-mc-01230-JFC Document 2534 Filed 02/26/24 Page 4 of 4




their superior knowledge of competing scheduling constraints and the

complexity of the issues that need to be decided.1

        ACCORDINGLY, IT IS HEREBY ORDERED THAT:

        1. No later than April 10, 2024, Respironics shall file a brief addressing the

            matters relevant to adjudication of Respironics Motion to Dismiss

            identified in the Court’s February 14, 2024 Memorandum Opinion (ECF

            No. 2521).

        2. Plaintiffs shall file a responsive brief no later than forty-five (45) days

            after service of Respironics’ brief.

        3. Respironics may file a Reply Brief no later than fifteen (15) days after

            service of Plaintiffs’ responsive brief.

        4. The parties’ briefs are not subject to any page limits, but the parties are

            expected to constrain their submissions to the matters presented in the

            Court’s February 14, 2024 Memorandum Opinion.



     February 26, 2024                                 /s/ Thomas I. Vanaskie
     Date                                              Hon. Thomas I. Vanaskie (Ret.)
                                                       Special Master




1
 Having deferred to the parties’ suggested briefing schedule, extensions of time
will not be granted absent truly extraordinary circumstances.
                                             4

02/16/2024 SL1 1951984v3 114548.00014
